
The Supreme Court affirmed the decree of the Orphans’ ■Court on March 17th, 1884, in the. following opinion :
Per Curiam.
Under the facts found by the Auditor and confirmed by the 'Court, the appellants have no just cause for complaint with this decree. AVe are not furnished with all the evidence, and ‘■cannot therefore verify all the findings of facts. It is found ■as a fact that the Executor discharged his duties faithfully and was not guilty of delaying the settlement of the estate and that he made no profit out of the trust funds; These facts being ■conceded, we discover no sufficient reason for disturbing the ■decree.
Decree- affirmed and appeal dismissed at the .cost of the appellants.
